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                          Exhibit 32
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                                                                                           The Chrysler Building
                                   SINE|                                                   405 Lexington Avenue,     NY NY 10174-1299
                              ;
                                                                                              212.554.7800
                                                                                           Tel:                    Fax: 212.554.‘/700                   t




                                                                                           www.mosessinger.com

                                                                                          Robert Wolf
                                                                                                     212.554.78% Fax: 2125547700
                                                                                                                                            -



                                                                                          Direct:
                                                                                          rwolf@mosessinger.com                         .




                                                                                          i\/latch   24,   2015
                                                        _




    By Hand and             e~mail (iochetrit@aol,com)
    l\/lr.   Joseph      Chetrit                _




    The       Group
             Chetrit
                                   15*** Fi.
4
    512 Seventh Ave.,
    New York, New York 10018                                                                                                                        ‘




                              Re: Nicolas Bourg v. Triadou SPV SA
                                                                  and lliyas Khragunov

                                                                                                                                                        i




    Dear      l\/lr.   Chetrit:

                                                       Nicolas Bourg,                      who was the Director of Triadou SPV
                 This firm represents the interests of
                              until late last   year.       lt/lr,   Bourg   is   owed a substantial amount of money by
    S.A. ("Triadou")                                                         including lliyas
                                          that are associated with Triadou,
    Triadou and/or persons and entities                                                   LLC (the
    Khrapunov. Cl-i 135 Flat LLC, CF 135
                                             West Member LLC and The Chetrit Group
                                                 brought by Triadou that is pending  in the New York
    “Defendants") are defendants in an action                                       has  already  ruled
                                                                              Court
    State Supreme Court (the
                                "New York Action"). We are aware that    the
                                                                   Triadou in the amount   of $5,250,000
    that each of the Defendants is jointly
                                           and severally liable to
                                                                    Defendants’ failure to pay the hrst
                                  November  2, 2014 based on the
    plus statutory interest from                                         Triadou has commenced a
    of four installments that are
                                  owed to Triadou. We also aware that
                                           second installment from the Defendants.
    second action seeking to recover the                                                                                                        "




                                                   Defendants cause any                                    payments to be made to
                have reason to believe that if the
                 We
                                                    funds to another Khrapunov controlled
                                                                                          entity
                                      transfer  the
    Triadou, Triadou will immediately                                collecting the amounts he is
                                         preventing Mr. Bourg from
    outside thejurisdiction of New York,
                                                    at stake inthe
                                                    the amounts    New York  Actions.
    owed — amounts that far exceed
                                                       absconding with money that is owed to                                  li/lr.

                 To prevent Triadou and Khrapunov from                        future New York
                                            intervene in the pending and any
    Bourg, we are prepared to immediately                                  the hands of Triadou and
                                          of any funds that may come into
    Actions and to request an attachment                               Defendants  will be named as
                                          of any funds to Triadou. The
    an injunction restraining the payment                                                             `




    a necessary party to that action.

                                                              in the New York Actions,
                                                                                       we propose that
                 To avoid the need for immediate intervention               with Mr. Bourg under which,
                                             enter into a standstill agreement
    the parties to the New York Action                                                                     to
    forthirty (30) days: (i) any payments
                                                 made by the Defendants on account of its obligations
                                               escrow account maintained by Rosabianca
                                                                                               & Associates,
    Triadou will be paid, if at all, into an                                                        not disburse
                                                     ("Escrow Agent"); (ii) the Escrow Agent will
    PLLC or other acceptable escrow agent                                                   Bourg
                                                 of the Defendants; (iii) Triadou and
                                                                                        Mr.        will
    any funds received from or on behalf                                                                     day
                                resolve          Bourg’s  claims as outlined in this letter. The thirty (30)
    negotiate in good faith to            l\/lr.




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ll/lnsi2s{gSlllstiiitr»

   Joseph Chetrit
ll/ir.
                                                                                                          »




March 24, 2015
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                                                                compensation to which Mr.
                                  time to resolve the amount of
period should provide the parties                                        ·


                                        emergency litigation.
Bourg is entitled, without the need for                                                                   Y

                                                                                             and/or
                                                             to discuss this matter with you
                                                                                                      _




         We would like to arrange a meeting for later today    to discuss this further. Be
                                                                                           advised        `




                               Triadou. twill call you shortly
your counsel and counsel for                                        are paid nonetheless, we will
                                                                                                          l

                                                            Triadou
                          installments not currently due to
that if we learn that any                                              Triadou, and will seek to
                                    abet a fraudulent conveyance by
                                                                                                              Q




view that as an attempt to aid and
                           therefor.
hold the Defendants liable
                                                                       obligation to preserve
                                             matter, you are under an
              of the claims asserted in this
         ln light                                                         the Defendants may
                                                           defenses  that
                                        claims and/or any
evidence that may be relevant to those                        those obligations.
                                  a separate letter detailing
have. To that end, l am enclosing




                                                      Robert S. Wolf




 iossmvi m4i4o.o1oo
